           Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ADAMS RESOURCES & ENERGY INC., §
ADA RESOURCES, INC. and ADAMS  §
RESOURCES EXPLORATION          §
COMPANY                        §
               Plaintiffs,     §


V.                                             §      CIVIL ACTION NO.:

RANGER INSURANCE COMPANY,                      §
n/k/a FAIRMONT SPECIALTY                       §
INSURANCE COMPANY,                             §

                       Defendants.             §      [JURY DEMANDED]

                                      NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:
         Defendant, Ranger Insurance Company n/k/a Fairmont Specialty Insurance Company

("Fairmont"), files this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 as

follows:

                                               11

         On January 6, 2015, Adams Resources & Energy, Inc., Ada Resources, Inc. and Adams

Resources Exploration Company (collectively "Adams") filed Plaintiffs' Original Petition

against Defendant in the 127 th Judicial District Court of Harris County, Texas, in Cause No.

2015-00310 ("the State Court Action"). See Exhibit "A", Plaintiffs Original Petition.

                                               2.

         On January 14, 2015, Defendant was served with a copy of the Citation and Plaintiffs

Original Petition. See Exhibit "B".




PD.16618780.1
          Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 2 of 6




                                                 3.

          The above-entitled cause is breach of contract suit brought by the Plaintiffs for an

unspecified amount of actual damages as a result of Defendant's denial of insurance coverage

with respect to a claim made under its multiple policies of liability insurance. Specifically,

Plaintiffs seek recovery for alleged breach of contract, plus expenses and statutory penalties, for

Fairmont's denial of coverage of claims asserted against Adams in a lawsuit filed in Louisiana

(the "Underlying Action"). The nature of this case is more fully stated in Plaintiff's Original

Petition, a copy of which is filed herewith as Exhibit A.

                                                 4.

          The allegations contained in Plaintiff's Original Petition do not place Defendants on

notice as to whether that the amount in controversy, exclusive of interest and costs, exceeds

$75,000. 28 U.S.C. §1332. The policies at issue provide millions of dollars in coverage. The

Underlying Action against Plaintiffs alleges that they are liable for extensive and costly

environmental contamination caused by historical oil and gas operations. Similar actions in

Louisiana have resulted in damage awards in the tens of millions of dollars. See Corbello v.

Iowa Production, 850 So. 2d 686 (La. 2003). In addition to the actual damages alleged,

Plaintiff's petition seeks statutory damages for alleged "knowing" and "intentional" violations of

the Texas Insurance Code which, if proven, may entitle Plaintiff to recover up to three times its

actual damages. See Exhibit A, ¶ 21. As such, it is apparent that Plaintiffs' claim exceeds the

sum of $75,000, exclusive of interests and costs, and exceeds the minimum amount in

controversy as required by 28 U.S.C. § 1332.




                                                  2
PD. 16618780.1
          Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 3 of 6




                                                    5.

          Harris County is within the territorial jurisdiction of the United States District Court,

Southern District of Texas, Houston Division.

                                                    Ca

          The basis for jurisdiction in this Court is diversity of citizenship under 28 U.S.C. §1332.

                                               PARTIES

                                                    7.

          At the time Plaintiffs filed their Original Petition, and at the time Defendant subsequently

filed its Notice of Removal, Plaintiffs Adams Resources & Energy, Inc. and Adams Resources

Exploration Company were/are corporations organized under the laws of the State of Delaware

and Plaintiff Ada Resources, Inc. was/is a corporation organized under the laws of Texas.

Plaintiffs all maintained their principal places of business in the State of Texas.



          At the time Plaintiffs filed their Original Petition, and at the time Defendant subsequently

filed its Notice of Removal, Fairmont was/is organized under the laws of the state of California

with a principal place of business in New Hampshire.


                                    DIVERSITY JURISDICTION

                                                        9.

          This is a civil action over which this Court has original jurisdiction under the provisions

of 28 U.S.C. § 1332, and is one which is removable to this Court pursuant to 28 U.S.C. § 1441 in

that there is complete diversity of citizenship between Plaintiffs and Defendant.




                                                    3
PD. 16618780.1
            Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 4 of 6




                                                    10.

           Defendant therefore desires to remove the above-entitled cause from the Harris County

District Court of Texas to the United States District Court for the Southern District of Texas,

Houston Division.

                                     REMOVAL PROCEDURE

                                                    11.

           Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed within thirty (30) days

after receipt by Defendant of a copy of the initial pleading setting forth the claim.

                                                    12.

           Pursuant to 28 U.S.C. § 1446(a) and Local Rule LR81, the following exhibits are

attached hereto and are incorporated herein by reference:

           a. Exhibit A:         Pleadings that Assert Causes of Action

           b. Exhibit B:         All Executed Service of Process

           c. Exhibit C:         All Orders Signed by State Judge

           d. Exhibit D:         Docket Sheet

           e. Exhibit E:         Index of matters being filed

           f. Exhibit F:         List of Counsel

                                                    13.

           Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being filed with the

District Clerk of Harris County, Texas, and written notice is being provided to all adverse

parties.

                                                JURY DEMAND

           A jury demand is requested.




                                                   4
PD. 166 18780. 1
          Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 5 of 6




          WHEREFORE, Fairmont respectfully requests that the above entitled action be removed

from the 127th Judicial District Court of Harris County, Texas to the United States District Court

for the Southern District of Texas, Houston Division.

                                             Respectfully submitted,

                                             PHELPS DUNBAR LLP



                                             By: /s/ Peri H. Alkas
                                                Peri H. Alkas
                                                Attorney-In-Charge
                                                TBN: 00783536
                                                Federal ID No.: 15787
                                                500 Dallas Street, Suite 1300
                                                Houston, Texas 77002
                                                Telephone: (713) 626-1386
                                                Facsimile: (713) 626-1388
                                                E-mail: peri.alkas@phelps.com

                                             ATTORNEY-IN-CHARGE FOR DEFENDANT




PD. 16618780.1
         Case 4:15-cv-00422 Document 1 Filed in TXSD on 02/13/15 Page 6 of 6




                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above Notice of Removal has been
forwarded by ECF on this the 13th day of February, 2015 to:

Michael E. Richardson                              VIA: MRichardson@beckredden.com
BECK REDDEN LLP
1221 McKinney St., Suite 4500
Houston TX 77010-2010


                                                  /s/Peri H. Alkas
                                                   Peri H. Alkas




                                              6
PD.16618780.1
